Name and address:
L. LinCase
       Wood2:18-cv-08048-SVW-JC
             (pro hac vice pending)       Document 17-1 Filed 09/18/18 Page 1 of 1 Page ID #:121
Jonathan D. Grunberg (pro hac vice pending)
G. Taylor Wilson (pro hac vice pending)
L. LIN WOOD, P.C.
1180 West Peachtree Street, Suite 2400
Atlanta, Georgia 30309
Telephone: (404) 891-1402; Facsimile: (404) 506-9111


                                                    UNITED STATES DISTRICT COURT
                                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                               CASE NUMBER
VERNON UNSWORTH
                                                                                          2:18-cv-08048
                                                                Plaintiff(s)
                                       v.
                                                                                   (PROPOSED) ORDER ON APPLICATION
ELON MUSK
                                                                                  OF NON-RESIDENT ATTORNEY TO APPEAR
                                                            Defendant(s).             IN A SPECIFIC CASE PRO HAC VICE

The Court, having determined whether the required fee has been paid, and having reviewed the
Application of Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
Wilson, G. Taylor                                  of L. LIN WOOD, P.C.
Applicant’s Name (Last Name, First Name & Middle Initial)                         1180 West Peachtree Street, Suite 2400
(404) 891-1402                          (404) 506-9111                            Atlanta, Georgia 30309
Telephone Number                         Fax Number                               404-891-1402
twilson@linwoodlaw.com                                                            404-506-9111 (fax)
                              E-Mail Address                                      Firm/Agency Name & Address

for permission to appear and participate in this case on behalf of
PLAINTIFF VERNON UNSWORTH



Name(s) of Party(ies) Represented                                              Plaintiff(s)    Defendant(s)       Other:
and designating as Local Counsel
R. CHRISTOPHER CHATHAM                                                         of CHATHAM LAW GROUP
Designee’s Name (Last Name, First Name & Middle Initial)                          Robert Christopher Chatham
     240972             213-277-1800                                              CA State Bar No. 240972
Designee’s Cal. Bar No.         Telephone Number           Fax Number
                                                                                  chris@chathamfirm.com
                                                                                  3109 W. Temple Ave, Los Angeles, CA 90026
chris@chathamfirm.com
                                E-Mail Address                                    Firm/Agency Name & Address

 HEREBY ORDERS THAT the Application be:
      GRANTED.
      DENIED:  for failure to pay the required fee.
                           for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                           for failure to complete Application:
                           pursuant to L.R. 83-2.1.3.2:       Applicant resides in California;     previous Applications listed indicate Applicant
                           is regularly employed or engaged in business, professional, or other similar activities in California.
                           pursuant to L.R. 83-2.1.3.4; Local Counsel:      is not member of Bar of this Court;  does not maintain office in District.
                           because

 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid:                                              be refunded      not be refunded.

 Dated
                                                                                       U.S. District Judge/U.S. Magistrate Judge
G–64 ORDER (5/16)         (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE             Page 1 of 1
